                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                                  Plaintiff,

       v.                                                       Case No. 21-CR-028

ASHTON L. HOWARD,

                                  Defendant.



                                         PLEA AGREEMENT



      1.       The United States of America, by its attorneys, Richard G. Frohling, United States

Attorney for the Eastern District of Wisconsin, and Benjamin W. Proctor and John P. Scully,

Assistant United States Attorneys, and the defendant, Ashton L. Howard, individually and by

attorney Aneeq Ahmad, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into

the following plea agreement:

                                               CHARGES

      2.       The defendant has been charged in a two-count superseding indictment, which

alleges violations of Title 18, United States Code, Sections 231(a)(3), 922(g)(1), and 924(a)(2).

      3.       The defendant has read and fully understands the charges contained in the

superseding indictment. He fully understands the nature and elements of the crimes with which he

has been charged, and those charges and the tenns and conditions of the plea agreement have been

fully explained to him by his attorney.

       4.          The defendant voluntarily agrees to plead guilty to the following count set forth in

full as follows:




       Case 2:21-cr-00028-PP Filed 08/19/22 Page 1 of 14 Document 72
                                     COUNT ONE
                  (Obstructing Law Enforcement During a Civil Disorder)
               THE GRAND JURY CHARGES THAT:

               1.     At all times relevant, Ashton L. HOWARD ("HOWARD") was a
       resident of Kenosha,  Wisconsin.
              2.      On or about August 23, 2020, Jacob Blake was shot by a Kenosha
       Police Officer in Kenosha, Wisconsin. Protests and riots followed in Kenosha,
       Wisconsin.
               3.     On or about August 23, 2020, after Blake was shot, a crowd
       gathered near the location of the shooting in Kenosha, Wisconsin. HOWARD was
       among those people gathering in that area.
           a. During this time, some members of the crowd damaged a Kenosha Police
       Depaitment squad car and threw objects at and near law enforcement officers.
           b. During this time, Officer A, a member of the Kenosha Police Depaitnient,
       was working with other officers to secure and move a damaged squad car.
           c. During this time, HOWARD threw an object at Officer A. The object hit
       Officer A in the head, and Officer A collapsed to the ground. Several other law
       enforcement officers rushed to assist and protect Officer A. Officer A was then
       transported away from the scene for medical care.
              4.      On or about August 23, 2020, in the State and Eastern District of
       Wisconsin,

                                     ASHTON L. HOWARD
       knowingly committed an act to obstruct, impede, and interfere with a law
       enforcement officer lawfully engaged in the lawful performance of his official
       duties incident to and during the commission of a civil disorder which in any way
       and degree obstructed, delayed, and adversely affected commerce, the movement
       of any article and commodity in commerce, and the conduct and performance of
       any federally protected function.
               All in violation of Title 18, United States Code, Section 231(a)(3).

      5.       The defendant acknowledges, understands, and agrees that he is, in fact, guilty of

the offense described in paragraph 4. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove the facts alleged in the superseding

indictment as well as the following facts beyond a reasonable doubt. The defendant admits that

these facts are true and correct and establish his guilt beyond a reasonable doubt:

               On August 23, 2020, Jacob Blake was shot by an officer of the Kenosha
       Police Depat Unent (KPD). That incident triggered both non-violent protests and
       violent rioting during the evening of August 23, 2020, and the ensuing days,
       including numerous arsons throughout the City of Kenosha. Kenosha County
       declared a state of Emergency Curfew and the Wisconsin National Guard

                                                 2


       Case 2:21-cr-00028-PP Filed 08/19/22 Page 2 of 14 Document 72
eventually deployed over 1,000 individuals to keep the peace. The civil disorder in
Kenosha on August 23, 2020, obstructed, delayed, or adversely affected interstate
commerce, including the closing of businesses engaged in interstate commerce and
delay of mail and package deliveries.

        On August 23, 2020, a crowd gathered at the shooting location near the
2800 block of 40th Street in Kenosha. Members of the crowd grew increasingly
agitated and began damaging police vehicles. Members of the crowd also began to
throw various objects at the law enforcement officers on scene. Around 9:10 p.m.,
a member of the KPD, Officer A, was working with other KPD officers to move
and secure a damaged squad car. Officer A was wearing a vest with the words
"POLICE" on the front and back.

       While Officer A and other officers were near the vehicle, members of the
crowd encroached upon the officers, preventing them from moving forward. A
Molotov cocktail was thrown in the direction of the officers and the squad car,
which burst into flames near the rear of the vehicle.

         Shortly thereafter, another object was thrown at the squad car, causing glass
to break. As Officer A turned to see what caused the glass to break, an individual,
later identified as Ashton Howard, threw a brick directly at Officer A. The brick hit
Officer A in the head and caused him to collapse to the ground unconscious. Other
officers came to help Officer A as the crowd encroached. Eventually, with
assistance of several officers who came to the scene, Officer A was removed from
the scene and transported to a hospital.

        Multiple cameras recorded the events surrounding the attack on Officer A.
Those videos showed the defendant wearing a black hooded sweatshirt with red
strips, a black facemask with distinctive white marks, and black shoes with
distinctive red strips, holding a heavy brick and yelling near the disabled police
vehicle shortly before Officer A was hit with the brick. Videos also show Officer
A getting hit with the brick, and the defendant nearby yelling, "I dropped his bitch
ass! I dropped his bitch ass!"

       As part of the investigation, agents interviewed multiple witnesses who
claimed that an individual, later identified as Ashton Howard, bragged to them that
he was the person who hit the officer with the brick on August 23rd. Agents also
executed a search warrant at the residence where the defendant was staying and the
vehicle he was using. As part of that process, agents found the clothing and
facemask the defendant was wearing on August 23rd, the cell phone he was using,
and a box containing .45 caliber ammunition that belonged to the defendant.

       A search of the defendant's phone, which included a removable SD card,
revealed many photos and videos of Ashton Howard. These included selfie videos
of Howard in downtown Kenosha on the night of August 23rd, at least three
versions of a widely-shared video showing Officer A getting hit in the head with


                                          3


Case 2:21-cr-00028-PP Filed 08/19/22 Page 3 of 14 Document 72
        the brick on August 23rd, and several still images from that video showing Officer
        A on the ground that had emojis indicating "quiet" and "mouth shut."

               Records from the cell service provider for Howard's cell phone showed that
         Howard's phone pinged off of a tower that provided coverage to the 2800 block
         of 40th Street in Kenosha (where Officer A was hit) around the time that Officer
         A was hit with the brick.

        This information is provided for the purpose of setting forth a factual basis for the plea of

guilty. It is not a full recitation of the defendant's knowledge of, or participation in, this offense.

                                            PENALTIES

       6.       The parties understand and agree that the offense to which the defendant will enter

a plea of guilty carries the following maximum term of imprisonment and fine: 5 years and

$250,000. Count One also carries a mandatory special assessment of $100 and a maximum of 3

years of supervised release. The parties further recognize that a restitution order may be entered

by the court.

       7.       The defendant acknowledges, understands, and agrees that he has discussed the

relevant statutes as well as the applicable sentencing guidelines with his attorney.

                             DISMISSAL OF REMAINING COUNT

       8.       The government agrees to move to dismiss the remaining count of the superseding

indictment at the time of sentencing.

                                            ELEMENTS

       9.       The parties understand and agree that in order to sustain the charge of obstructing

law enforcement during a civil disorder, as set forth in Count One, the government must prove

each of the following propositions beyond a reasonable doubt:

        First, a civil disorder existed at the time of the offense;

        Second, the civil disorder obstructed, delayed, or adversely affected interstate commerce
        or the movement of any article or commodity in commerce, or the perfoimance of any
        federally protected function;
                                                   4


       Case 2:21-cr-00028-PP Filed 08/19/22 Page 4 of 14 Document 72
       Third, one or more firemen or law enforcement officers (federal, state, or local) were
       engaged in the lawful performance of their official duties incident to and during the
       commission of the civil disorder; and

       Fourth, the defendant knowingly committed or attempted to commit any act to obstruct,
       impede, or interfere with such firemen or law enforcement officers.

                                 SENTENCING PROVISIONS

      10.      The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days before

the sentencing hearing, in favor of a schedule for disclosure, and the filing of any objections, to be

established by the court at the change of plea hearing.

      11.      The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to the

Sentencing Guidelines when sentencing the defendant.

      12.      The defendant acknowledges and agrees that his attorney has discussed the

applicable sentencing guidelines provisions with him to the defendant's satisfaction.

      13.      The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant's criminal history. The parties

further acknowledge and understand that, at the time the defendant enters a guilty plea, the parties

may not have full and complete information regarding the defendant's criminal history. The parties

acknowledge, understand, and agree that the defendant may not move to withdraw the guilty plea

solely as a result of the sentencing court's determination of the defendant's criminal history.

                               Sentencin2 Guidelines Calculations

      14.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below the
                                                  5


       Case 2:21-cr-00028-PP Filed 08/19/22 Page 5 of 14 Document 72
guideline range. The parties further understand and agree that if the defendant has provided false,

incomplete, or inaccurate infoimation that affects the calculations, the government is not bound to

make the recommendations contained in this agreement.

                                        Relevant Conduct

      15.      The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating the

sentencing guidelines range, even if the relevant conduct is not the subject of the offense to which

the defendant is pleading guilty.

                                       Base Offense Level

      16.      The parties agree that the government will recommend to the sentencing court that

the applicable base offense level for the offense charged in Count One is 14 under U.S.S.G.

§ 2A2.2(a), the most analogous guideline under Sentencing Guidelines Manual §§ 1B1.2,

2A2.4(c)(1), and 2X5.1. The parties agree that the defendant may recommend that the base offense

level for the offense charged in Count One is 10 under U.S.S.G. § 2B2.4(a).

                                Specific Offense Characteristics

      17.      The parties agree that the brick thrown by the defendant qualifies as a "dangerous

weapon" under U.S.S.G. §§ 2A2.2(b)(2)(B) and 2A2.4(b)(1)(B), and that the defendant acted with

intent to cause injury to Officer A based on Officer A's status as a government officer. Therefore,

the parties agree that, if the Court determines that the base offense level for the offense in Count

One is 14 under U.S.S.G. § 2A2.2(a) and/or §2A2.4(c)(1), the following enhancements apply: (1)

a four-level increase for use of a dangerous weapon under U.S.S.G. § 2A2.2(b)(2)(B); (2) a six-

level increase for an offense motivated by the victim's status as a government officer or employee

under U.S.S.G. § 3A1.2(b); and (3) a bodily injury enhancement that is either a five-level increase

for serious bodily injury under U.S.S.G. § 2A2.2(b)(3)(B), or a four level increase for substantial
                                                 6


      Case 2:21-cr-00028-PP Filed 08/19/22 Page 6 of 14 Document 72
bodily injury under U.S.S.G. § 2A2.2(b)(3)(D). The parties further agree that, if the Court

determines that the base offense level for the offense in Count One is 10 under U.S.S.G. § 2B2.4(a),

the following enhancements apply: a three level increase for offense involving physical contact or

a dangerous weapon under U.S.S.G. § 2A2.4(b)(1), and a two-level increase for bodily injury

under U.S.S.G. § 2A2.4(b)(2). The parties further understand and agree that, if the applicable

guidelines range as calculated by the Court falls below the maximum penalty permitted by statute,

the government will recommend that an upward departure pursuant to U.S.S.G. § 3A1.4 n.4 and/or

§ 51(2.2 is warranted.

                                    Acceptance of Responsibility

      18.       The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the defendant

exhibits conduct consistent with the acceptance of responsibility. In addition, if the court

determines at the time of sentencing that the defendant is entitled to the two-level reduction under

§ 3E1.1(a), the government agrees to make a motion recommending an additional one-level

decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b) because the defendant timely

notified authorities of his intention to enter a plea of guilty.

                                   Sentencing Recommendations

      19.       Both parties reserve the right to provide the district court and the probation office

with any and all information which might be pertinent to the sentencing process, including but not

limited to any and all conduct related to the offense as well as any and all matters which might

constitute aggravating or mitigating sentencing factors.

      20.       Both parties reserve the right to make any recommendation regarding any and all

factors pertinent to the determination of the sentencing guideline range; the fine to be imposed;

the amount of restitution and the terms and condition of its payment; the length of supervised
                                                    7


       Case 2:21-cr-00028-PP Filed 08/19/22 Page 7 of 14 Document 72
release and the terms and conditions of the release; and any other matters not specifically addressed

by this agreement.

      21.      The parties understand and agree that the government will recommend a sentence

of 60 months' imprisonment, which is the maximum prison term for Count One. The parties

understand and agree that the defendant will recommend a sentence within the applicable

guidelines range, as determined by the Court.

                             Court's Determinations at Sentencing

      22.      The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United States

Probation Office will make its own recommendations to the sentencing court. The sentencing court

will make its own determinations regarding any and all issues relating to the imposition of sentence

and may impose any sentence authorized by law up to the maximum penalties set forth in

paragraph 6 above. The parties further understand that the sentencing court will be guided by the

sentencing guidelines but will not be bound by the sentencing guidelines and may impose a

reasonable sentence above or below the calculated guideline range.

      23.      The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                    FINANCIAL MATTERS

      24.      The defendant acknowledges and understands that any and all financial obligations

imposed by the sentencing court are due and payable in full upon entry of the judgment of

conviction. The defendant further understands that any payment schedule imposed by the

sentencing court shall be the minimum the defendant is expected to pay and that the government's

collection of any and all court imposed financial obligations is not limited to the payment schedule.

The defendant agrees not to request any delay or stay in payment of any and all financial
                                                 8


       Case 2:21-cr-00028-PP Filed 08/19/22 Page 8 of 14 Document 72
obligations. If the defendant is incarcerated, the defendant agrees to participate in the Bureau of

Prisons' Inmate Financial Responsibility Program, regardless of whether the court specifically

directs participation or imposes a schedule of payments.

        25.     The defendant agrees to provide to the Financial Litigation Unit (FLU) of the

United States Attorney's Office, at least 30 days before sentencing, and also upon request of the

FLU during any period of probation or supervised release imposed by the court, a complete and

sworn financial statement on a form provided by FLU and any documentation required by the

form.

                                        Special Assessment

        26.     The defendant agrees to pay the special assessment in the amount of $100 prior to

or at the time of sentencing.

                                            Restitution

        27.     The defendant agrees to pay restitution as ordered by the court. The defendant

understands that because restitution for the offense is mandatory, the amount of restitution shall

be imposed by the court regardless of the defendant's financial resources. The defendant agrees to

cooperate in efforts to collect the restitution obligation. The defendant understands that imposition

or payment of restitution will not restrict or preclude the filing of any civil suit or administrative

action.

                                         Property Waiver

        28.     The defendant agrees to waive any ownership claim to the property listed in the

superseding indictment and sign the "Federal Bureau of Investigation Waiver of Ownership of

Property" foim (FD-1119) regarding that property.




                                                  9


          Case 2:21-cr-00028-PP Filed 08/19/22 Page 9 of 14 Document 72
                            DEFENDANT'S WAIVER OF RIGHTS

      29.        In entering this agreement, the defendant acknowledges and understands that he

surrenders any claims he may have raised in any pretrial motion, as well as certain rights which

include the following:

            a.      If the defendant persisted in a plea of not guilty to the charges against him, he
                    would be entitled to a speedy and public trial by a court or jury. The defendant
                    has a right to a jury trial. However, in order that the trial be conducted by the
                    judge sitting without a jury, the defendant, the government and the judge all
                    must agree that the trial be conducted by the judge without a jury.

            b.      If the trial is a jury trial, the jury would be composed of twelve citizens selected
                    at random. The defendant and his attorney would have a say in who the jurors
                    would be by removing prospective jurors for cause where actual bias or other
                    disqualification is shown, or without cause by exercising peremptory
                    challenges. The jury would have to agree unanimously before it could return a
                    verdict of guilty. The court would instruct the jury that the defendant is
                    presumed innocent until such time, if ever, as the government establishes guilt
                    by competent evidence to the satisfaction of the jury beyond a reasonable doubt.

            c.      If the trial is held by the judge without a jury, the judge would find the facts and
                    determine, after hearing all of the evidence, whether or not he was persuaded
                    of defendant's guilt beyond a reasonable doubt.

            d.      At such trial, whether by a judge or a jury, the government would be required
                    to present witnesses and other evidence against the defendant. The defendant
                    would be able to confront witnesses upon whose testimony the government is
                    relying to obtain a conviction and he would have the right to cross-examine
                    those witnesses. In turn the defendant could, but is not obligated to, present
                    witnesses and other evidence on his own behalf. The defendant would be
                    entitled to compulsory process to call witnesses.

            e.      At such trial, defendant would have a privilege against self-incrimination so
                    that he could decline to testify and no inference of guilt could be drawn from
                    his refusal to testify. If defendant desired to do so, he could testify on his own
                    behalf.

     30.         The defendant acknowledges and understands that by pleading guilty he is waiving

all the rights set forth above. The defendant further acknowledges the fact that his attorney has

explained these rights to him and the consequences of his waiver of these rights. The defendant

further acknowledges that as a part of the guilty plea hearing, the court may question the defendant
                                                  10


      Case 2:21-cr-00028-PP Filed 08/19/22 Page 10 of 14 Document 72
under oath, on the record, and in the presence of counsel about the offense to which the defendant

intends to plead guilty. The defendant further understands that the defendant's answers may later

be used against the defendant in a prosecution for perjury or false statement.

      31.      The defendant acknowledges and understands that he will be adjudicated guilty of

the offense to which he will plead guilty and thereby may be deprived of certain rights, including

but not limited to the right to vote, to hold public office, to serve on a jury, to possess fireamis,

and to be employed by a federally insured financial institution.

      32.      The defendant knowingly and voluntarily waives all claims he may have based

upon the statute of limitations, venue, the Speedy Trial Act, and the speedy trial provisions of the

Sixth Amendment. The defendant agrees that any delay between the filing of this agreement and

the entry of the defendant's guilty plea pursuant to this agreement constitutes excludable time

under the Speedy Trial Act.

      33.      Based on the government's concessions in this agreement, the defendant knowingly

and voluntarily waives his right to appeal his conviction or sentence in this case and further waives

his right to challenge his conviction or sentence in any post-conviction proceeding, including but

not limited to a motion pursuant to 28 U.S.C. § 2255. As used in this paragraph, the teiui

"sentence" means any term of imprisonment, term of supervised release, term of probation,

supervised release condition, fine, forfeiture order, and restitution order. The defendant's waiver

of appeal and post-conviction challenges includes the waiver of any claim that (1) the statute or

Sentencing Guidelines under which the defendant is convicted or sentenced are unconstitutional,

and (2) the conduct to which the defendant has admitted does not fall within the scope of the statute

or Sentencing Guidelines. This waiver does not extend to an appeal or post-conviction motion

based on (1) any punishment in excess .of the statutory maximum, (2) the sentencing court's

reliance on any constitutionally impermissible factor, such as race, religion, or sex, (3) ineffective
                                                 11


      Case 2:21-cr-00028-PP Filed 08/19/22 Page 11 of 14 Document 72
assistance of counsel in cormection with the negotiation of the plea agreement or sentencing, or

(4) a claim that the plea agreement was entered involuntarily.

                             Further Civil or Administrative Action

      34.       The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any

other state or local government to take further civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict rights

and opportunities of the defendant to contract with or receive assistance, loans, and benefits from

United States government agencies.

                                      GENERAL MATTERS

      35.      The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction motion

or appeal.

      36.      The parties acknowledge, understand, and agree that this plea agreement will be

filed and become part of the public record in this case.

      37.      The parties acknowledge, understand, and agree that the United States Attorney's

office is free to notify any local, state, or federal agency of the defendant's conviction.

      38.      The defendant understands that pursuant to the Victim and Witness Protection Act,

the Justice for All Act, and regulations promulgated thereto by the Attorney General of the United

States, the victim of a crime may make a statement describing the impact of the offense on the

victim and further may make a recommendation regarding the sentence to be imposed. The

defendant acknowledges and understands that comments and recommendations by a victim may

be different from those of the parties to this agreement.
                                                 12


      Case 2:21-cr-00028-PP Filed 08/19/22 Page 12 of 14 Document 72
              EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

      39.         The defendant acknowledges and understands if he violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government's

agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea

agreement is revoked or if the defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of his breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the

defendant and his attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that he continues to be subject to the tei ins of the

proffer letter.

                         VOLUNTARINESS OF DEFENDANT'S PLEA

      40.         The defendant acknowledges, understands, and agrees that he will plead guilty

freely and voluntarily because he is in fact guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.




                                                 13


       Case 2:21-cr-00028-PP Filed 08/19/22 Page 13 of 14 Document 72
                                    ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.



Date:

                                             Defendant


I am the defendant's attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.



Date:
                                             ANEEQ AHMAD
                                             Attorney for Defendant


For the United States of America:



Date:    4tv (t-- I it, )4)                     44,4
                                            RICHARD G. FR HUNG
                                            United States Atto



        Aug. 18, 2022
Date:
                                            BENJAMIN W. PROCTOR
                                            JOHN P. SCULLY
                                            Assistant United States Attorneys




                                               14


        Case 2:21-cr-00028-PP Filed 08/19/22 Page 14 of 14 Document 72
